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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.,
CIVIL ACTION CASE
Plaintiffs,
NO. 2:12-cv-00859

VERSUS

SECTION “I”
MARLIN GUSMAN, ORLEANS PARISH JUDGE LANCE M. AFRICK

SHERIFF, ET AL.,
MAGISTRATE “5”

MICHAEL B. NORTH

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Defendants.

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COMPLIANCE DIRECTOR’S ORDER OF PROOF

 

Independent Jail Compliance Director Darnley R. Hodge, Sr. (the “Compliance Director”),
through undersigned counsel, respectfully submits the following anticipated Order of Proof to be
called at the hearing on the City’s Motion for Relief at Doc. No. 1281:

1. Rebecca Dietz, Esq.

2. Gary Maynard, Former Compliance Director, OPSO

3. Sean Bruno, Chief Administrative Officer

4, Darnley R. Hodge, Sr., Compliance Director, OPSO

5. Michael Laughlin, Chief of Investigations, OPSO

6. Michael G. Gaffney, Esq.

7. Alexander Calenda

8. Jeffrey Rouse, M.D., Tulane School of Medicine, Department of Psychiatry to OPSO
The Compliance Director reserves the right to make judgments to this list as may be

needed.
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Respectfully submitted,

/s/ Bryan C. Reuter

Richard C. Stanley, 8487

Bryan C. Reuter, 23910

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Attorneys for Darnley R. Hodge, Sr.

CERTIFICATE OF SERVICE
I hereby certify that on October 7, 2020, a copy of the foregoing Compliance Director’s
Order of Proof was filed electronically with the Clerk of Court using the CM/ECF system. Notice
of this filing will be sent to all counsel of record by operation of the Court’s electronic filing

system.

/s/ Bryan C, Reuter
